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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR
PRESIDENT, INC.; LAWRENCE               Civil Action
ROBERTS; and DAVID JOHN
HENRY;
                                        No.: 4:20-cv-02078-MWB
                Plaintiffs,

      v.

KATHY BOOCKVAR, in her capacity
as Secretary of the Commonwealth of
Pennsylvania; ALLEGHENY
COUNTY BOARD OF ELECTIONS;
CENTRE COUNTY BOARD OF
ELECTIONS; CHESTER COUNTY
BOARD OF ELECTIONS;
DELAWARE COUNTY BOARD OF
ELECTIONS; MONTGOMERY
COUNTY BOARD OF ELECTIONS;
NORTHAMPTON COUNTY BOARD
OF ELECTIONS; and
PHILADELPHIA COUNTY BOARD
OF ELECTIONS;

                Defendants.



     MOTION TO INTERVENE BY NON-PARTIES NAACP—
   PENNSYLVANIA STATE CONFERENCE, BLACK POLITICAL
 EMPOWERMENT PROJECT, COMMON CAUSE PENNSYLVANIA,
LEAGUE OF WOMEN VOTERS OF PENNSYLVANIA, JOHN AYENI,
  LUCIA GAJDA, STEPHANIE HIGGINS, MERIL LARA, RICARDO
MORALES, NATALIE PRICE, TIM STEVENS, AND TAYLOR STOVER
 FOR LEAVE TO FILE A RESPONSIVE PLEADING ON THE SAME
                SCHEDULE AS DEFENDANTS
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      Pursuant to Rule 24 of the Federal Rules of Civil Procedure, the National

Association for the Advancement of Colored People-Pennsylvania State

Conference (“NAACP-PSC”), Black Political Empowerment Project (“BPEP”),

Common Cause Pennsylvania, and League of Women Voters of Pennsylvania

(“the League”) (together, the “organizational Applicants”), and Lucia Gajda,

Stephanie Higgins, Meril Lara, Ricardo Morales, Constance Powers, Natalie Price,

Tim Stevens, and Taylor Stover (together, the “individual Applicants”)

(collectively, “Applicants”), respectfully move to intervene in this case and

become Defendants.

      Applicants seek intervention as of right under Rule 24(a)(2) or, alternatively,

permissive intervention under Rule 24(b)(1)(b). This motion is based upon the

Memorandum filed herewith as Exhibit 1.

      WHEREFORE, Applicants respectfully request that this Court grant its

motion to intervene as of right, or in the alternative, grant a permissive injunction,

and grant leave to file a pleading on the date upon which Defendants must file a

pleading in response to the Complaint.


Dated: November 10, 2020                            Respectfully submitted,

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PENNSYLVANIA                                   Claudia De Palma (PA No. 320136)
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                                         * Pro hac vice application forthcoming
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                                  Counsel for Proposed Intervenor-
                                  Defendants, NAACP-PSC, Black
                                  Political Empowerment Project,
                                  Common Cause Pennsylvania, League
                                  of Women Voters of Pennsylvania;
                                  Joseph Ayeni, Lucia Gajda, Stephanie
                                  Higgins, Meril Lara, Ricardo Morales,
                                  Natalie Price, Tim Stevens, and Taylor
                                  Stover
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       Case 4:20-cv-02078-MWB Document 30 Filed 11/10/20 Page 6 of 6




                         CERTIFICATE OF SERVICE


      I hereby certify that on this date, the foregoing memorandum of law in support

of motion to intervene was filed electronically and served on Plaintiffs’ counsel of

record via the ECF system of the U.S. District Court for the Middle District of

Pennsylvania; and via e-mail on counsel for defendants.



Dated: November 10, 2020

                                             /s/            Witold J. Walczak
